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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION



BABY DOE, A CITIZEN OF AFGHANISTAN       )
CURRENTLY RESIDING IN NORTH CAROLINA, )
BY AND THROUGH NEXT FRIENDS, JOHN AND )
JANE DOE;AND JOHN AND JANE DOE, CITIZENS )
OF AFGHANISTAN AND LEGAL GUARDIANS OF )
BABY DOE,                                )
                                         )
     Plaintiffs,                         )
                                         )
v.                                       )                     CIVIL ACTION NO. 3:22-CV-49-NKM
                                         )
JOSHUA MAST, STEPHANIE MAST, RICHARD     )
MAST, KIMBERLEY MOTLEY, AND AHMAD        )
OSMANI,                                  )
                                         )
     Defendants,                         )
                                         )
and                                      )
                                         )
UNITED STATES SECRETARY OF STATE         )
ANTONY BLINKEN AND UNITED STATES         )
SECRETARY OF DEFENSE GENERAL             )
LLOYD AUSTIN,                            )
                                         )
     Nominal Defendants.                 )


                       [PROPOSED] ORDER GRANTING PLAINTIFFS’
                         MOTION TO SEAL DKT NOS. 10, 11, AND 12

         This matter is before the Court on Plaintiffs’ September 27, 2022 Motion (Dkt. __) to Seal

  three previously filed Motions for Pro Hac Vice Admission (the “Pro Hac Motions”) (Dkt. 10, 11,

  and 12), in the captions of which, Plaintiffs have represented to the Court, they inadvertently and

  mistakenly used Plaintiffs’ given names rather than their pseudonyms. For the reasons set forth in

  Plaintiffs’ Motion to Proceed by Pseudonyms (the “Pseudonym Motion”) (Dkt. 3),                  its
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  accompanying Memorandum In Support (Dkt. 4), the Court’s September 8, 2022 Order Granting

  Doe Plaintiffs’ Motion for Leave to Seal Exhibits (Dkt. 14), and the Court’s September 13, 2022

  Protective Order granting the Pseudonym Motion (Dkt. 26), the Court finds that good cause exists

  to grant Plaintiffs’ Motion to Seal the Pro Hac Motions.

         Accordingly, Plaintiffs’ Motion to Seal Dkt. Nos. 10, 11, and 12 is GRANTED. It is

  therefore ORDERED that the Clerk of Court place them under seal and retain them permanently

  under seal pursuant to Local Civil Rule 5.

         It is so ORDERED.

         The Clerk of Court is directed to send this Order to counsel of record.

         Entered this ___ day of__________, 2022.



                                               ______________________________
                                               NORMAN K. MOON
                                               SENIOR UNITED STATES DISTRICT JUDGE




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